JS 44 (Rev. 03/24)

Case 2:24-cv-00480@i0NL GOMER SHEEBEd 10/15/24 Page 1 of 1

The JS 44 civil cover shect and the information contained hercin neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the

purpose of initiating the civil docket shect.

(SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

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Oh ws

1

(a) PLAINTIFFS)

chal Vendor 170, S&

(b) County of Residence of First Listed Plaintiff {Sy
(EXCEPT IN U.S. PLAINTIFF CASES)

(c) Attorneys (Firm Name, Address, and Telephone Number)

DEFENDANTS

NOTE:

Attorneys (if Known)

Bre of

County of Residence of First Listed Defendant AWA

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TN UCN |

(IN U.S. PLAINTIFF SUC ONLY)

IN LAND CONDEMNATION
THE TRACT OF LAND INVODYED*

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Il. BASIS OF JURISDICTION (Place an “X" in One Box Only)

O

(J

1 U.S. Government Federal Question

Plaintiff

Se

2 U.S, Government {4 Diversity

Defendant

(U.S. Government Not a Party)

(Indicate Citizenship of Parties in Item ED)

(For Diversity Casex Only)

PIF DE
! i Incorporated or Principal Place
7

Citizen of This State

Citizen of Another State

Citizen or Subject of a
Foreign Country

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It. CITIZENSHIP OF NCP AER

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Al Ore Box for Defendant)

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of Business In This State

[] 3

Foreign Nation

O 2 Incorporated and Principal Place
of Business In Another State

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IV. NATURE OF SUIT (Place an “x” in One Box Only)

Click here for: Nature of S

it Code Descriptions.

“ CONTRAGT -

TORTS: *

FORFEITURE/PENALTY.

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4

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| 160 Stockholders’ Suits

[_] 190 Other Contraet

[| 195 Contract Product Liability
{|_| 196 Franchise

PERSONAL INJURY
310 Airplane
315 Airplane Product

110 Insurance
120 Marine
130 Miller Act

aE

140 Negotiable Instrument Liability
150 Recovery of Overpayment |_| 320 Assault, Libel &

& Enforcement of Judgment Slander
151 Medicare Act |_| 330 Federal Employers’
152 Recovery of Defaulted Liability

Student Loans 340 Marine

(Excludes Veterans) 345 Marine Product
153 Recovery of Overpayment Liability

350 Motor Vehicle

355 Motor Vehicle

Product Liability
|] 460 Other Personal
Injury
|_| 362 Personal Injury -
Medical Malpractice

of Veleran’s Benefits

PERSONAL INJURY
C] 365 Personal Injury -
Product Liability
[] 367 Health Care/
Pharmaccutical
Personal Injury
Product Liability
[_] 368 Asbestos Personal
Injury Product
Liability
PERSONAL PROPERTY
370 Other Fraud
371 Truth in Lending
{] 380 Other Personal
Property Damage
385 Property Damage
Product Liability

~ FYeas Drug Related Seizure
of Property 21 USC 881
|_]690 Other

422 Appeal 28 USC 158
423 Withdrawal
28 USC 157

” BANIKRUPTCY-

375 False Claims Act
376 Qui Tam (31 USC
3729(a))

OTHER STATUTES

INTELLECTUAL
PROPERTY RIGHTS

400 State Reapportionment
410 Antitrust

820 Copyrights

830 Patent

$35 Patent - Abbreviated
New Drug Application

840 Trademark

LABOR:

LI LLL

880 Defend Trade Secrets

710 Fair Labor Standards
Act

t] 720;Labor/Management

“Relations

740 Railway Labor Act
751 Family and Medical
Leave Act

REAL PROPERTY... 7 CIVIL RIGHTS—— |

PRISONER PETITIONS

790 Other Labor Litigation

_}210 Land Condemnation

[__]220 Foreclosure

[ 230 Rent Lease & Ejectment
240 Torts to Land

[| 245 Tort Product Liability

[_] 290 All Other Real Property

440 Other Civil Rights
eet oti: AF

442 Employment
|_| 443 Housing/ ‘
Accommodations —

Employment

Other
| 448 Education

a, Habes Corpus:

| 446 Amer. w/Disabilitiessele ;

330 General

Z 535 Death Penalty
Other:

540 Mandamus & Other
(94 550 Civil Rights

tA 55 Prison Condition
A 560 Civil Detainee -
Conditions of
Confinement

791 Employee Retirement
Income Security Act

Act of 2016

430 Banks and Banking

450 Commerce

460 Deportation

470 Racketcer Influenced and
Corrupt Organizations

|_| 480 Consumer Credit

(15 USC 1681 or 1692)

[| 485 Telephone Consumer

“« SOCIAL SECURITY.

Protection Act

861 HIA (13951A)

862 Black Lung (923)

863 DIWC/DIWW (405(g))
864 SSID Title XVI

865 RSI (405(g))

|

H

490 Cable/Sat TV

850 Securities/Commodities/
Exchange

890 Other Statutory Actions

FEDERAL TAX SUITS:

[_] 870 Taxes (U.S. Plaintiff
or Defendant)
[_] 871 IRS—Third Party

IMMIGRATION:

26 USC 7609

462 Naturalization Application
465 Other Immigration
Actions

|} 891 Agricultural Acts
893 Environmental Matters
895 Freedom of Information
Act
896 Arbitration
H 899 Administrative Procedure
Act/Review or Appeal of
Agency Decision
[_] 950 Constitutionality of
State Statutes

ORIGIN (Place any‘X” in One Box Only)
| Original Removed from
Proceeding State Court

3

Remanded from
Appellate Court

4 Reinstated or

Reopened

Cl 5 Transferred from
Another District

(specify)

Transfer

6 Multidistrict
Litigation -

CO 8 Multidistrict
Litigation -
Direct File

V1. CAUSE OF ACTION

Ae.

Cite (on ivil Statute under which you are filing (Do not cite jurisdictional statutes untess diversiny):
ti

Brief description of cause:

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Proscuced Enno, we Tween)

VIF. REQUESTED IN

[-] CHECK IF THIS
COMPLAINT:

“AT
IS A CLASS ACTION

UNDER RULE 23, F.R.Cv.P,

DEMAND §

CHECK YES only if demgnded in complaint:

JURY DEMAND:

[_]No

es

VIH. RELATED CASE(S)

(See instructions):

IF ANY

JUDGE

DOCKET NUMBER

DATE

SIGNATURE OF ATTORNEY OF RECORD

FOR OFFICE USE ONLY

RECEIPT # AMOUNT

APPLYING IFP

JUDGE

MAG. JUDGE

